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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

CASE NO. 15-CV-22282-KMM
JANE DOE NO. 50 and MOTHER DOE,

Plaintiffs,
vs.

CHARTER SCHOOLS USA,  INC.,,
CHARTER SCHOOLS USA AT
RENAISSANCE HIGH SCHOOL OF
SOUTH DADE, L.L.C., and RENAISSANCE
CHARTER SCHOOL, INC.,

Defendants.
/

 

AMENDED COMPLAINT

JANE DOE NO. 50 and MOTHER DOE bring this Complaint against
Defendants, CHARTER SCHOOLS USA, INC., CHARTER SCHOOLS USA AT
RENAISSANCE HIGH SCHOOL OF SOUTH DADE, L.L.C., and RENAISSANCE
CHARTER SCHOOL, INC, as follows:

PARTIES AND JURISDICTION

1. Plaintiff JANE DOE NO. 50 (hereafter “JANE DOE”) is sui juris and an
adult resident of Miami-Dade County, Florida.

2. Plaintiff MOTHER DOE is sui juris and an adult resident of Miami-Dade
County, Florida. She is the mother of JANE DOE.

3. Defendant CHARTER SCHOOLS USA, INC. (hereafter “CHARTER
SCHOOLS USA”) is a Delaware for-profit corporation whose principal place of business
is in Fort Lauderdale, Florida.

EXHIBIT

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4. Defendant CHARTER SCHOOLS USA AT RENAISSANCE HIGH
SCHOOL OF SOUTH DADE, L.L.C., is a Florida Limited Liability Company whose
principal address is in Fort Lauderdale, Florida.

5. Defendant RENAISSANCE CHARTER SCHOOL, INC., is a Florida
non-profit corporation, with its principal address in Fort Lauderdale, Florida.

6. During the relevant time period, CHARTER SCHOOLS USA, CHARTER
SCHOOLS USA AT RENAISSANCE HIGH SCHOOL OF SOUTH DADE, L.C.C., and
RENAISSANCE CHARTER SCHOOL, INC. owned, operated, maintained, and/or
staffed KEYS GATE CHARTER HIGH SCHOOL, a charter school formed in
accordance with Florida Statutes §1002.33, located at 2325 Southeast 28th Avenue,
Homestead, Florida (hereinafter, CHARTER SCHOOLS USA, INC., CHARTER
SCHOOLS USA AT RENAISSANCE HIGH SCHOOL OF SOUTH DADE, L.C.C., and
RENAISSANCE CHARTER SCHOOL, INC. shall be collectiveiy referred to as “KEYS
GATE CHARTER HIGH SCHOOL” or the “CHARTER SCHOOL”). The defendants
receive federal financial funding.

7. The court has federal question subject matter jurisdiction of this action
pursuant to 28 U.S.C. §1331 and 20 U.S.C. §1681(a). The Court has supplemental
jurisdiction of the Plaintiffs’ state law claims under 28 U.S.C. §1367.

8. The Court has venue of this action under 28 U.S.C. §1391 as Keys Gate
Charter High School is located in this District, the Plaintiffs resided in this District at all
material times, and a substantial part of the events and omissions giving rise to the claim
occurred in this District.

9. A written claim for money damage in conformity with §768.28(6)(a), Fla.
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Stat. was made to CHARTER SCHOOLS USA, INC. and RENAISSANCE CHARTER
SCHOOL, INC. on July 11, 2016, CHARTER SCHOOLS USA AT RENAISSANCE
HIGH SCHOOL OF SOUTH DADE, L.L.C., and the Florida Department of Financial
Services on August 31, 2016, and final disposition of such claims has not been made,
and/or the Court has determined such notices of claim were not a prerequisite to bringing
this action.

FACTS

10. =‘ This is an action for injury to the Plaintiffs arising from the sexual assault
of JANE when she was a 16 years old student at KEYS GATE CHARTER HIGH
SCHOOL. At the time of the filing of this Complaint, JANE is 18 years old.

11. T.F., a male, was an 18 year old student at KEYS GATE CHARTER
HIGH SCHOOL at the time of the sexual assault described below.

12, R.G., a male, was a student at KEYS GATE CHARTER HIGH SCHOOL
at the time of the sexual assault described below.

13. Upon information and belief, T.F. and R.G. were given preferential
treatment by CHARTER SCHOOL staff due to their status as football players. T.F. and
R.G. were freely allowed to wander the hallways of KEYS GATE CHARTER HIGH
SCHOOL, and entered and exited classrooms, offices and restricted areas whenever they
desired.

14. JANE began attending KEYS GATE CHARTER HIGH SCHOOL in the
9th grade during the 2011-2012 school year.

ACTUAL NOTICE OF SEXUAL HARASSMENT

15. During the 2012-2013 school year, T.F. and R.G. began to continually
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sexually harass JANE at KEYS GATE CHARTER HIGH SCHOOL.

16. The sexual harassment perpetrated by T.F. and R.G. included, but was not
limited to: telling JANE the sexual acts they would like to do to her, including having
vaginal and oral intercourse with JANE; rubbing against JANE’s breast in the hallway of
KEYS GATE CHARTER HIGH SCHOOL; the touching of JANE’s buttocks by one of
the two boys; and asking JANE if she was a virgin and if she had ever had oral sex with a
boy before.

17.‘ T.F. and R.G. frequently entered her classroom while class was in session
in order to harass JANE. On several occasions, the two boys sexually harassed JANE,
asking her to leave her classroom to engage in sexual activities. On at least one occasion,
the two boys told JANE to meet them in the bathroom. JANE refused all of these
advances.

18. One or more times during the 2012-2013 school year, JANE reported to
Dean Jamaal Fairley, Dean of Students at KEYS GATE CHARTER HIGH SCHOOL, the
sexual harassment perpetrated on her by T.F. and R.G. Dean Fairley took no action in
response.

19. One or more times during the 2013-2014 school year, JANE again
reported to Dean Fairley the sexual harassment perpetrated on her by T.F. and R.G. Dean
Fairly took no action in response.

20. In or about September 2013, MOTHER DOE met with KEYS GATE
CHARTER HIGH SCHOOL guidance counselor Ifreka Singh. JANE was also in
attendance at this meeting.

21. During this meeting, JANE became visibly upset and reported to Ms.
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Singh the sexual harassment perpetrated on her by T.F. and R.G. Ms. Singh told
MOTHER DOE and JANE that she was sure it was not anything too serious and that the
kids talk like this all of the time. However, she stated that she would look into the
situation.

22. At this meeting, Ms. Singh adjusted JANE’s schedule, but JANE
continued to be assigned to the same class as one of the boys who was harassing her.

23. On at least two occasions, MOTHER DOE called KEYS GATE
CHARTER HIGH SCHOOL attempting to speak with KEYS GATE CHARTER HIGH
SCHOOL’s principal to complain that JANE was still being harassed by R.G. and T.F.
MOTHER DOE was told that the principal was unable to speak with her.

24. In or about September 2013, MOTHER DOE went to KEYS GATE
CHARTER HIGH SCHOOL to speak with KEYS GATE CHARTER HIGH SCHOOL’s
principal to complain that her daughter was still being harassed by R.G. and T.F. The
principal was not available so MOTHER DOE again met with guidance counselor Ms.
Singh. In this meeting, MOTHER DOE again reported to Ms. Singh that JANE was being
harassed by T.F. and R.G.

25. JANE was called out of class on at least one occasion to meet with Ms.
Singh and discuss her schedule and interactions with T.F. and R.G.

26. In or about October 2013, MOTHER DOE met with Principal Baez to
inform her that she intended on transferring JANE from KEYS GATE CHARTER HIGH
SCHOOL to Killian High School because JANE was still being harassed by T.F. and
R.G. JANE thereafter transferred to Killian High School.

27. A few months later, a representative from KEYS GATE CHARTER
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HIGH SCHOOL contacted Mother Doe. The representative asked MOTHER DOE to
send JANE back to KEYS GATE CHARTER HIGH SCHOOL and assured MOTHER
DOE that if JANE returned her school environment would be safe.

28. Following this phone call, MOTHER DOE met with KEYS GATE
CHARTER HIGH SCHOOL principal Corinne Baez to discuss JANE returning to KEYS
GATE CHARTER HIGH SCHOOL. During the meeting, MOTHER DOE informed Ms.
Baez of the details of the sexual harassment JANE suffered from T.F. and R.G. Ms.
Baez assured MOTHER DOE that the school had zero tolerance for sexual harassment
and actions that would make students unsafe. MOTHER DOE allowed JANE to return to
KEYS GATE CHARTER HIGH SCHOOL based on these assurances,

29. _— As a result of this meeting with MOTHER DOE, Ms. Baez, the highest
ranking official at KEYS GATE CHARTER HIGH SCHOOL, with the authority to take
corrective measures on behalf of JANE to prevent further sexual harassment by R.G. and
T.F., had actual notice of R.G. and T.F.’s sexual harassment of JANE.

30. Due to this actual notice, KEYS GATE CHARTER HIGH SCHOOL was
aware that R.G. and T.F. had a proclivity for sexual harassment and sexually
inappropriate behavior, particularly toward JANE DOE, and that it was substantially
certain to continue if corrective measures were not undertaken, as Principal Baez had
promised to MOTHER DOE.

DELIBERATE INDIFFERENCE

31. Despite actual notice of R.G. and T.F.’s sexual harassment and

inappropriate behavior with JANE, Principal Baez, Dean Fairley, and the KEYS GATE

CHARTER HIGH SCHOOL officials and administrators with authority to take corrective
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measures on behalf of the Defendants demonstrated deliberate indifference by choosing
not to take any corrective action against R.G. and T.F. to prevent future sexual
harassment of JANE. As a result, R.G. and T.F. continued to have unfettered access to
JANE at KEYS GATE CHARTER HIGH SCHOOL, and R.G. and T.F. continued to
sexually harass JANE at KEYS GATE CHARTER HIGH SCHOOL

SEXUAL HARASSMENT/SEXUAL ASSAULT OF JANE

32. On or about April 15, 2014, JANE was using the restroom at KEYS
GATE CHARTER HIGH SCHOOL in between her scheduled classes. No one was in the
restroom when she entered her stall.

33. R.G. entered the restroom and yelled JANE’S name. R.G. then opened
JANE’S stall door, grabbed JANE by the arm and demanded sex. T.F. also entered the
restroom and R.G. and T.F. pulled JANE out of the bathroom and into the CHARTER
SCHOOL hallway.

34. —_-R.G. reiterated that he and T.F. wanted to have sex with JANE. JANE
said no but R.G. persisted.

35. —R.G. pulled out his penis and told JANE to “suck it.” JANE was shocked,
frightened and did not know how to react. R.G, forced his penis into JANE’S mouth.

36. _R.G. told T.F. to retrieve the keys to a CHARTER SCHOOL official’s
office from the official.

37. ‘T.F. returned with the keys to the official’s office and the two boys
brought JANE to the official’s office.

38. In the office, T.F. and R.G. forced Jane to perform oral sex on them at the

same time. The boys took turns receiving oral sex and at one point the two boys stuck
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their penises inside her mouth at the same time. R.G. and T.F. attempted to choke Jane by
pushing their penises as far into her mouth as possible. R.G. and T.F. each ejaculated into
Jane’s mouth.

39. RG. and T.F. threatened JANE not to tell anyone about the incident or
they would sexually assault her again.

40. As a result of the sexual assault of JANE by R.G. and T.F., JANE has
suffered severe psychological, emotional and physical injuries, and emotional distress
arising out of the physical injuries, pain and suffering, mental anguish, inconvenience,
loss of capacity for the enjoyment of life, inability to lead a normal life, shame,
humiliation and regression. The injuries and damages are permanent and continuing in
nature.

41. The sexual assault of JANE occurred on a date subsequent to JANE
DOE’S reporting of her sexual harassment to Dean Fairley, Ms. Singh, and MOTHER
DOE’s meetings with Principal Baez.

COUNT I
Violation of Title IX, Education
Amendments of 1972 - 20 U.S.C. §1681 et seq.
(Against All Defendants)

42.‘ Plaintiff JANE DOE repeats and re-alleges the allegations set forth in
paragraphs | through 41 above.

43.  Atall relevant times, the Defendants received federal financial assistance.

44. JANE had a right to not be subject to sexual discrimination, harassment or
abuse while she participated in the Defendant’s education program or activity receiving

federal financial assistance.

45. | Upon information and belief, Defendants had actual notice that R.G. and
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T.F. were sexually harassing JANE and posed a grave danger to JANE and other female
students in the school of further sexual harassment and abuse.

46. The prior complaints to Principal Baez, Dean Fairley, and other KEYS
GATE CHARTER HIGH SCHOOL officials and administrators of sexual harassment by
R.G. and T.F., from JANE and MOTHER DOE, alerted Principal Baez, Dean Fairley,
and other agents and officials of Defendants to R.G. and T.F.’s sexual harassment of and
sexually inappropriate behaviors with JANE.

47, Corinne Baez, as Principal, and Jamaal Fairley, as Dean of Students, and
other KEYS GATE CHARTER HIGH SCHOOL officials and administrators with actual
notice, had authority to institute corrective measures on behalf of the Defendants, in
response to the danger posed by R.G. and T.F.

48. Upon information and belief, the decisions of Principal Baez, Dean
Fairley, and the Defendants, after receipt of actual notice of sexual harassment by R.G.
and T.F., to allow R.G. to continue to attend school without instituting any corrective
measures, were official decisions to ignore the danger of sexual harassment or sexual
abuse to JANE and the female students in their care.

49. In response to actual notice that R.G. and T.F. posed a risk of sexual
harassment or abuse to students at KEYS GATE CHARTER HIGH SCHOOL, Principal
Baez, Dean Fairley, and the Defendants could have instituted any of a number of
corrective measures that would have prevented the sexual harassment of JANE, including
without limitation, (i) preventing R.G. and T.F. from having any unobservable conduct
with JANE on school grounds including prohibiting access to secluded areas such as

locker rooms and administration offices; (ii) monitoring and more closely supervising
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R.G. and T.F.’s interactions with JANE and female students; (iii) assigning a staff
member to escort R.G. and T.F. on school grounds; (iv) imposing material and discipline
on R.G. and T.F. for their sexual harassment on JANE; (v) warning R.G. and T.F. that
they could not come in contact with or sexually harass JANE; (vi) removing them from
the school; (vii) taking adverse disciplinary action against R.G. and T.F. for their
inappropriate behavior and sexual harassment of JANE; (viii) investigating the
allegations against R.G. and T.F. to determine the extent of their inappropriate behavior
and sexual harassment; or (ix) any such other action reasonably intended or designed to
protect the students at KEYS GATE CHARTER HIGH SCHOOL from sexual
harassment by R.G. and T.F..

50. Despite receipt of actual notice, Principal Baez, Dean Fairley, the
Defendants, and their agents and representatives, acted with deliberate indifference in
failing (i) to investigate the reports of sexual harassment against R.G. and T.F.; (ii) to
take any action to prohibit R.G. and T.F. from having unsupervised and unobservable
access to JANE including prohibiting access to secluded areas such as locker rooms and
administrative offices; (iii) to remove R.G. and T.F. from the school; (iv) to otherwise
restrict R.G. and T.F.’s access to JANE or other female students; or (v) engage in any
other corrective measure to prevent R.G. and T.F. from sexually harassing JANE.

S51. As a result of this gross failure to act, JANE was sexually harassed,
sexually assaulted, and threatened by R.G. and T.F.

52. As a direct result and moving force behind the sexual discrimination,
harassment and abuse described herein, JANE was deprived of the benefits of an

education at KEYS GATE CHARTER HIGH SCHOOL, and has suffered severe and

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permanent psychological and physical injuries, mental anguish, pain and suffering, and
loss of enjoyment of life.

WHEREFORE, Plaintiff JANE demands judgement against CHARTER
SCHOOLS USA, INC., CHARTER SCHOOLS USA AT RENAISSANCE HIGH
SCHOOL OF SOUTH DADE, L.L.C., and RENAISSANCE CHARTER SCHOOL,
INC, for compensatory damages, attorneys’ fees, punitive damages, and fees and costs
pursuant to 42 U.S.C. §1988, and such other and further relief as this Court deems just
and proper.

COUNT II - NEGLIGENCE
(Against All Defendants)

53. Plaintiff repeats and realleges paragraphs | through 41 above.

54. Defendants were in a special relationship with R.G. and T.F., such that
they had a duty to control R.G. and T.F.’s conduct and exercise reasonable care in
ensuring that they were safe and posed no threat of foreseeable harm, including sexual
abuse, to female students, including JANE.

55. Defendants were in a special relationship with JANE of school-student, in
which Defendants had a duty to protect JANE from foreseeable harm, including sexual
assault.

56. At all relevant times, Defendants knew or should have known that R.G.
and T.F. posed a foreseeable risk of sexual abuse to JANE.

57. At all relevant times, Defendants owed a duty to control the behavior of
R.G. and T.F., particularly on CHARTER SCHOOL premises to prevent foreseeable
harms.

58. At all relevant times, Defendants owed a duty of reasonable care to protect

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JANE from foreseeable harms, including sexual abuse by R.G. and T.F.

59. At all relevant times, Defendants had a duty to implement policies and
procedures reasonably calculated to protect its students from foreseeable harm due to
sexual assault and abuse.

60. A school must not allow students to enter unsupervised areas reserved for
teachers and staff.

61. | A-school must not grant special privileges and exceptions from discipline
or consequences to popular athletes, who are thereby emboldened to bully, terrorize and
assault other students.

62. | Aschool must exercise direct supervision of students at all times when on
school grounds.

63. Defendants breached their duty of care owed to JANE by failing to
adequately supervise or control R.G. and T.F.; failing to adequately supervise or protect
JANE; failing to provide a safe and secure environment for JANE; and failing to warn
JANE about the potential danger posed by R.G. and T.F.

64. In addition to the foregoing, Defendants breached their duty of care when
their official provided the keys to his office to R.G. and T\F., thereby giving R.G. and
T.F. a secure, unsupervised location in which they could commit their sexual assaults on
JANE.

65. Defendants breached their duty of care by failing to adopt or implement
policies and procedures to prevent child sexual abuse of students.

66. Defendants breach their duty of care by failing to train school staff in the

prevention of sexual assault.

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67. Asa direct and proximate result of these breaches, R.G. and T.F. sexually
assaulted JANE, causing JANE injuries as stated above.

WHEREFORE, Plaintiff JANE demands judgement against CHARTER
SCHOOLS USA, INC., CHARTER SCHOOLS USA AT RENAISSANCE HIGH
SCHOOL OF SOUTH DADE, L.L.C., and RENAISSANCE CHARTER SCHOOL,
INC, for compensatory damages, attorneys’ fees, punitive damages, and such other and
further relief as this Court deems just and proper.

COUNT Ill —- LOSS OF CONSORTIUM
(Against all Defendants)

68. Plaintiff, MOTHER DOE, individually, repeats and realleges the
allegations set forth in paragraphs | through 41, above.

69. As a result of Defendants’ negligence and violation of JANE’S common
law rights, MOTHER DOE has suffered and will suffer damages, including loss of
comfort, companionship and society, and pecuniary losses, consisting of, without
limitation, care and treatment of JANE and loss of earning arising therefrom.

70. | The Defendants’ acts and omissions were the direct and proximate cause
of JANE suffering a permanent and total disability.

WHEREFORE, Plaintiff, MOTHER DOE, individually, demands judgment
against CHARTER SCHOOLS USA, INC., CHARTER SCHOOLS USA AT
RENAISSANCE HIGH SCHOOL OF SOUTH DADE, L.L.C., and RENAISSANCE
CHARTER SCHOOL, for compensatory damages for loss of consortium, costs, and such

other and further relief as is just and proper.

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Dated:

served via CM/ECF mail this

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DEMAND FOR JURY TRIAL

Plaintiffs demand a jury trial in this action.

 

By:

Respectfully Submitted,

HERMAN LAW

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing was filed and

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